      Case 2:13-cr-00056-TLN Document 39 Filed 08/07/13 Page 1 of 2


 1   LAW OFFICES OF CHRIS COSCA
     CHRIS thCOSCA       CA SBN 144546
 2    1007 7 Street, Suite 210
     Sacramento, CA 95814
 3   (916) 440-1010
 4   Attorney for Defendant
     ANTHONY SANTINO MORENO
 5

 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                      )   2: 13-CR-0056 TLN
12                                                  )
                    Plaintiff,                      )   STIPULATION AND ORDER TO
13                                                  )   CONTINUE JUDGMENT AND
            vs.                                     )   SENTENCING
14                                                  )
     ANTHONY SANTINO MORENO,                        )
15                                                  )
                                                    )
16                                                  )
                    Defendant.                      )
17                                                  )
                                                    )
18

19
                                          Stipulation
20
            The parties, through their undersigned counsel, stipulate that the judgment and
21
     sentencing hearing currently scheduled for August 8, 2013 be continued to August 29, 2013 at
22
     9:30 a.m. The parties require additional time to prepare and develop facts relevant to judgment
23
     and sentencing herein.
24

25          The prosecutor has authorized defense counsel to sign this stipulation on his behalf.

26   ///

27   ////
28




                                       STIP AND ORDER CON’T J&S
                                            USA v. MORENO
      Case 2:13-cr-00056-TLN Document 39 Filed 08/07/13 Page 2 of 2


 1                                               Respectfully submitted,
 2

 3
     Dated: August 6, 2013                       /s/ Chris Cosca___________________
 4
                                                 CHRIS COSCA
 5                                               Attorney for Defendant

 6

 7
     Dated: August 6, 2013                       _/s/ Chris Cosca for ___________________
 8                                               JARED DOLAN
                                                 Assistant US Attorney
 9                                               Attorney for Plaintiff
10

11                                               ORDER

12   Good cause appearing,
13
            The judgment and sentencing hearing currently scheduled for August 8, 2013 is
14
     continued to August 29, 2013 at 9:30 a.m.
15

16

17

18   Dated: August 6, 2013

19

20
                                                         Troy L. Nunley
21                                                       United States District Judge
22

23

24

25

26

27

28




                                      STIP AND ORDER CON’T J&S
                                           USA v. MORENO
